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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-01475-KMT

  CARLOS INNISS, on behalf of himself and all others similarly situated,

         Plaintiff,

  v.

  ROCKY MOUNTAIN INVENTORY, INC., a Colorado corporation,
  BRIAN HUNGERFORD, an individual,
  JANINE HUNGERFORD, an individual, and
  LINDA HUNGERFORD, an individual,

         Defendants.


               NOTICE OF FILING OF CONSENT TO BECOME PARTY PLAINTIFF


         PLEASE TAKE NOTICE, that pursuant to 29 U.S.C. § 216, Plaintiff hereby files the

  attached Consent Form for the following individual:

         1. Benjamin Berg

             Respectfully submitted this 3rd day of May, 2019.

                                                    /s/ Paul F. Lewis
                                                    Paul F. Lewis
                                                    Michael D. Kuhn
                                                    Andrew E. Swan
                                                    LEWIS | KUHN | SWAN PC
                                                    620 North Tejon Street, Suite 101
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                                                    Attorneys for Plaintiff
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                                           CERTIFICATE OF SERVICE

         I hereby certify that on this 3rd day of May, 2019, I filed the foregoing Notice of Filing

  of Consent to Become Party Plaintiff using the Court’s e-filing system, which will send

  notification to all counsel of record.

                                                        /s/ Anne S. Pearcy
                                                        Anne S. Pearcy
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